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 Attorneys for Plaintiff


                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
                                 NEWARK DIVISION



   IN RE: PROTON-PUMP INHIBITOR                  MDL No. 2789
   PRODUCTS LIABILITY LITIGATION
   (NO. II)                                      JUDGE CLAIRE C. CECCHI

                                                 MAGISTRATE MARK FALK
   This Document Relates to:
                                                 Case No.: 2:17-md-2789 (CCC)(MF)

   Peter Mos v. AstraZeneca Pharmaceuticals LP          MOTION FOR LEAVE TO
   2:18-cv-05435-CCC-MF                               WITHDRAW AS ATTORNEY OF
                                                     RECORD FOR PLAINTIFF PETER
                                                                MOS


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        PLEASE TAKE NOTICE that on January 22, 2019, or as soon thereafter as counsel

 may be heard, the undersigned attorneys for Plaintiff Peter Mos shall move before the United

 States District Court for the District of New Jersey for an Order seeking leave to withdraw as the

 attorney of record for Plaintiff Peter Mos.

        PLEASE TAKE FURTHER NOTICE that, in support of this Motion, the undersigned

 attorneys for Plaintiff Peter Mos will rely upon the declaration of Asim M. Badaruzzaman, Esq.




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        PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

 herewith pursuant to L.Civ.R. 7.1(e).

        PLEASE TAKE FURTHER NOTICE that oral argument is waived.

 DATED: December 27, 2018

                                             Respectfully Submitted,



                                             By: /s/ Christopher A. Seeger
                                             Christopher A. Seeger
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